Case 2:04-cr-20361-.]PI\/| Document 39 Filed 04/25/05 Page 1 of 3 Page|D 51

 

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IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 85 yy`"_
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H‘J"`.*'.! V `-\" `~,' ,»..
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"!;‘ 0 l .'

UNITED sTATEs OF AMERICA N’ “m“WH@

Plaintiff,

Criminal No. @_‘/- zo§(¢f Ml

(90-Day Continuance)

 

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`_¢V`_,VVVVVU~_/VV~_/V`_/`_/~_/~_/~_/V

Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF` 'I'IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on FridaV, JulV 22. 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 22nd day of April, 2005.

TWus dochnent entered on uie docket sheeiin com l§hance
with Rls|e 55 and/or 32 b1 FRCrP on L_JI___

Case 2:04-cr-20361-.]PI\/| Document 39 Filed 04/25/05 Page 2 of 3 Page|D 52

so ORDERED this 22nd day of April, 2005.

 

 

Assistant United States Attorney

 

 

 

 

Counsel for Defendant(s)

QMVO~QQ

PHIPPS MCCALLA
UN 'I`ED STATES DISTRICT JUDGE

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20361 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

